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                                   UNITED STATES DISTRICT COURT

                                   WESTERN DISTRICT OF LOUISIANA

                                        LAFAYETTE DIVISION

  TARA FOGLEMAN-LAXEY                           CIVIL ACTION NO. 6:21-CV-03038

  VERSUS                                        JUDGE MICHAEL J. JUNEAU

  MARK GARBER, ET AL.                           MAGISTRATE JUDGE PATRICK J. HANNA


                         ANSWER TO FIRST AMENDED COMPLAINT

         NOW COMES, Sheriff Mark Garber (“Sheriff”) and in response to the Plaintiffs First

 Amended Complaint alleges on information and belief as follows:

                                                  1.

        The Plaintiff’s First Amended Complaint fails to state a cause of action against Sheriff
 Garber.

                                                  2.

         The allegations of Paragraph 1 of the First Amended Complaint require no answer of the

 Sheriff. To the extent an answer is required, the allegations are denied in so far as the allegations

 relate or refer to the Sheriff.

                                                  3.

         The allegations of Paragraph 2 of the First Amended Complaint require no answer of the

 Sheriff. To the extent an answer is required, the allegations are denied in so far as the allegations

 relate or refer to the Sheriff.
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                                                    4.

         The allegations of Paragraph 3 of the First Amended Complaint require no answer of the

 Sheriff. To the extent an answer is required, the allegations are denied in so far as the allegations

 relate or refer to the Sheriff.

                                                    5.

         The allegations of Paragraph 4 of the First Amended Complaint are denied as written.

                                                    6.

         The allegations of Paragraph 5 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                    7.

         The allegations of Paragraph 6 of the First Amended Complaint are denied in so far as the

 allegations relate or refer to the Sheriff.

                                                    8.

         The allegations of Paragraph 7 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                    9.

         The allegations of Paragraph 8 of the First Amended Complaint are denied.

                                                    10

         The allegations of Paragraph 9 of the First Amended Complaint are denied in so far as the

 allegations relate or refer to the Sheriff.

                                                   11.

         The allegations of Paragraph 10 of the First Amended Complaint denied in so far as the



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 allegations relate or refer to the Sheriff.

                                                    12.

         The allegations of Paragraph 11 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                    13.

         The allegations of Paragraph 12 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                    14.

         The allegations of Paragraph 13 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                    15.

         The allegations of Paragraph 14 of the First Amended Complaint are denied as written.

                                                    16.

         The allegations of Paragraph 15 of the First Amended Complaint are denied as written.

                                                    17.

         The allegations of Paragraph 16 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                    18.

         The allegations of Paragraph 17 of the First Amended Complaint state conclusions of law

 which require no answer. However, to the extent an answer is required, the allegations are denied

 in so far as the allegations relate or refer to the Sheriff.




                                                     3
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                                                    19.

         The allegations of Paragraph 18 of the First Amended Complaint are denied in so far as the

 allegations relate or refer to the Sheriff.

                                                    20.

         The allegations of Paragraph 19 of the First Amended Complaint denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                    21.

         The allegations of Paragraph 20 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                    22.

         The allegations of Paragraph 21 of the First Amended Complaint require no answer of the

 Sheriff. To the extent an answer is required, the allegations are denied for lack of information to

 justify a belief therein.

                                                    23.

         The allegations of Paragraph 22 of the First Amended Complaint require no answer of the

 Sheriff. To the extent an answer is required, the allegations are denied for lack of information to

 justify a belief as to the truth of the matter therein.

                                                    24.

         The allegations of Paragraph 23 of the First Amended Complaint require no answer of the

 Sheriff. To the extent an answer is required, the allegations are denied for lack of information to

 justify a belief as to the truth of the matter therein.



                                                     4
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                                                    25.

         The allegations of Paragraph 24 of the First Amended Complaint are admitted.

                                                    26.

         The allegations of Paragraph 25 of the First Amended Complaint are admitted.

                                                    27.

         The allegations of Paragraph 26 of the First Amended Complaint require no answer of the

 Sheriff. To the extent an answer is required, the allegations are denied for lack of information to

 justify a belief as to the truth of the matter therein.

                                                    28.

         The allegations of Paragraph 27 of the First Amended Complaint require no answer of the

 Sheriff. To the extent an answer is required, the allegations are denied for lack of information to

 justify a belief as to the truth of the matter therein.

                                                    29.

         The allegations of Paragraph 28 of the First Amended Complaint are denied in so far as the

 allegations relate or refer to the Sheriff.

                                                    30.

         The allegations of Paragraph 29 of the First Amended Complaint state conclusions of law

 requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied

 for lack of information to justify a belief as to the truth of the matter therein.




                                                     5
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                                                   31.

         The allegations of Paragraph 30 of the First Amended Complaint state conclusions of law

 requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied

 for lack of information to justify a belief as to the truth of the matter therein.

                                                   32.

         The allegations of Paragraph 31 of the First Amended Complaint state conclusions of law

 requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied

 for lack of information to justify a belief as to the truth of the matter therein.

                                                   33.

         The allegations of Paragraph 32 of the First Amended Complaint state conclusions of law

 requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied

 for lack of information to justify a belief as to the truth of the matter therein.

                                                   34.

         The allegations of Paragraph 33 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   35.

         The allegations of Paragraph 34 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   36.

         The allegations of Paragraph 35 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.



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                                                   37.

         The allegations of Paragraph 36 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   38.

         The allegations of Paragraph 37 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   39.

         The allegations of Paragraph 38 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   40.

         The allegations of Paragraph 39 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   41.

         The allegations of Paragraph 40 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   42.

         The allegations of Paragraph 41 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   43.

         The allegations of Paragraph 42 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.



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                                                   44.

         The allegations of Paragraph 43 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   45.

         The allegations of Paragraph 44 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   46.

         The allegations of Paragraph 45 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   47.

         The allegations of Paragraph 46 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   48.

         The allegations of Paragraph 47 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   49.

         The allegations of Paragraph 48 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   50.

         The allegations of Paragraph 49 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.



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                                                   51.

         The allegations of Paragraph 50 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   52.

         The allegations of Paragraph 51 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   53.

         The allegations of Paragraph 52 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   54.

         The allegations of Paragraph 53 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   55.

         The allegations of Paragraph 54 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   56.

         The allegations of Paragraph 55 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.

                                                   57.

         The allegations of Paragraph 56 of the First Amended Complaint are denied for lack of

 sufficient information to justify a belief as to the truth of the matter therein.



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                                                    58.

          The allegations of Paragraph 57 of the First Amended Complaint are denied as written.

                                                    59.

          The allegations of Paragraph 58 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    60.

          The allegations of Paragraph 59 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    61.

          The allegations of Paragraph 60 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    62.

          The allegations of Paragraph 61 of the First Amended Complaint are denied as written.

                                                    63.

          The allegations of Paragraph 62 of the First Amended Complaint are denied for lack of

  sufficient information to justify as to the truth of the matter therein.

                                                    64.

          The allegations of Paragraph 63 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    65.




                                                     10
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          The allegations of Paragraph 64 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    66.

          The allegations of Paragraph 65 of the First Amended Complaint are admitted in so far as

  the Plaintiff alleges she was moved to the LPCC operated by the Sheriff. The remaining

  allegations are denied for lack of sufficient information to justify a belief as to the truth of the

  matter therein.

                                                    67.

          The allegations of Paragraph 66 of the First Amended Complaint are denied.

                                                    68.

          The allegations of Paragraph 67 of the First Amended Complaint are denied.

                                                    69.

          The policy referred to is not quoted in its entirety, and the Sheriff denies the allegations of

  Paragraph 68 of the First Amended Complaint as written.

                                                    70.

          The policy referred to is not quoted in its entirety, and the Sheriff denies the allegations of

  Paragraph 69 of the First Amended Complaint as written.

                                                    71.

          The allegations of Paragraph 70 of the First Amended Complaint are denied.

                                                    72.

          The allegations of Paragraph 71 of the First Amended Complaint are denied.

                                                    73.



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          The policy referred to is not quoted in its entirety, and the Sheriff denies the allegations of

  Paragraph 72 of the First Amended Complaint as written.

                                                    74.

          The allegations of Paragraph 73 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    75.

          The allegations of Paragraph 74 of the First Amended Complaint are denied as written.

                                                    76.

          The allegations of Paragraph 75 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    77.

          The allegations of Paragraph 76 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    78.

          The allegations of Paragraph 77 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                    79.

          The allegations of Paragraph 78 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    80.

          The allegations of Paragraph 79 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.



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                                                    81.

          The allegations of Paragraph 80 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    82.

          The allegations of Paragraph 81 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    83.

          The allegations of Paragraph 82 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    84.

          The allegations of Paragraph 83 of the First Amended Complaint are denied in so far as

  they relate or refer to the Sheriff.

                                                    85.

          The allegations of Paragraph 84 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    86.

          The allegations of Paragraph 85 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    87.

          The allegations of Paragraph 86 of the First Amended Complaint are denied in so far as the

  allegations relate or refer to Sheriff Garber.




                                                     13
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                                                    88.

          The allegations of Paragraph 87 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    89.

          The allegations of Paragraph 88 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    90.

          The allegations of Paragraph 89 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    91.

          The allegations of Paragraph 90 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    92.

          The allegations of Paragraph 91 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    93.

          The allegations of Paragraph 92 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    94.

          Sheriff Garber admits to being accused but denies the accusations and allegations of

  Paragraph 93 of the First Amended Complaint.




                                                     14
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                                                    95.

          The allegations of Paragraph 94 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    96.

          The allegations of Paragraph 95 state conclusions of law requiring no answer of the Sheriff.

  To the extent an answer is required, the allegations are denied.

                                                    97.

          The allegations of Paragraph 96 of the First Amended Complaint are denied.

                                                    98.

          The allegations of Paragraph 97 of the First Amended Complaint require no answer, but if

  a response is necessary, the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                    99.

          The allegations of Paragraph 98 of the First Amended Complaint require no answer, but if

  a response is necessary, the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                    100.

          The allegations of Paragraph 99 of the First Amended Complaint require no answer, but if

  a response is necessary, the Sheriff admits the language of La. R.S. 14:100.1 speaks for itself.




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                                                101.

          The allegations of Paragraph 100 of the First Amended Complaint require no answer, but

  if a response is necessary, the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                102.

          The allegations of Paragraph 101 of the First Amended Complaint require no answer, but

  if a response is necessary, the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                103.

          The allegations of Paragraph 102 of the First Amended Complaint require no answer, but

  if a response is necessary, the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                104.

          The allegations of Paragraph 103 of the First Amended Complaint require no answer, but

  if a response is necessary, the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                105.

          The allegations of Paragraph 104 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                106.

          The allegations of Paragraph 105 of the First Amended Complaint are denied.




                                                16
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                                                    107.

          The allegations of Paragraph 106 of the First Amended Complaint are denied.

                                                    108.

          The allegations of Paragraph 107 of the First Amended Complaint are denied.

                                                    109.

          The allegations of Paragraph 108 of the First Amended Complaint are denied.

                                                    110.

          The allegations of Paragraph 109 of the First Amended Complaint are denied.

                                                    111.

          The allegations of Paragraph 110 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to the Sheriff.

                                                    112.

          The allegations of Paragraph 111 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to the Sheriff.

                                                    113.

          The allegations of Paragraph 112 of the First Amended Complaint are denied.

                                                    114.

          The allegations of Paragraph 113 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to Sheriff Garber.

                                                    115.

          The allegations of Paragraph 114 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to Sheriff Garber.



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                                                   116.

         The allegations of Paragraph 115 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied.

                                                   117.

         The allegations of Paragraph 116 of the First Amended Complaint require no answer, but

  if a response is necessary the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                   118.

         The allegations of Paragraph 117 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied.

                                                   119.

         The allegations of Paragraph 118 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied.

                                                   120.

         The allegations of Paragraph 119 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to Sheriff Garber.

                                                   121.

         The allegations of Paragraph 120 of the First Amended Complaint are denied in so far as

  the allegations relate to Sheriff Garber.

                                                   122.

         The allegations of Paragraph 121 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied.



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                                                    123.

          The allegations of Paragraph 122 of the First Amended Complaint require no answer, but

  if a response is necessary the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                    124.

          The allegations of Paragraph 123 of the First Amended Complaint are denied.

                                                    125.

          The allegations of Paragraph 124 of the First Amended Complaint are denied for lack of

  sufficient information as to justify a belief as to the truth of the matter therein.

                                                    126.

          The allegations of Paragraph 125 of the First Amended Complaint are denied for lack of

  sufficient information as to justify a belief as to the truth of the matter therein.

                                                    127.

          The allegations of Paragraph 126 of the First Amended Complaint are denied for lack of

  sufficient information as to justify a belief as to the truth of the matter therein.

                                                    128.

          The allegations of Paragraph 127 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to Sheriff Garber.

                                                    129.

          The allegations of Paragraph 128 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to Sheriff Garber.




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                                                   130.

            The allegations of Paragraph 129 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to Sheriff Garber.

                                                   131.

            The allegations of Paragraph 130 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to Sheriff Garber.

                                                   132.

            The allegations of Paragraph 131 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to Sheriff Garber.



                                                   133.

            The allegations of Paragraph 132 of the First Amended Complaint states conclusions of

  law requiring no answer of the Sheriff. To the extent an answer is required, the allegations are

  denied.

                                                   134.

            The allegations of Paragraph 133 of the First Amended Complaint require no answer, but

  if a response is necessary the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                   135.

            The allegations of Paragraph 134 of the First Amended Complaint states conclusions of

  law requiring no answer of the Sheriff. To the extent an answer is required, the allegations are

  denied as written.



                                                       20
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                                                    136.

          The allegations of Paragraph 135 of the First Amended Complaint states conclusions of

  law requiring no answer of the Sheriff.

                                                    137.

          The allegations of Paragraph 136 of the First Amended Complaint states conclusions of

  law requiring no answer of the Sheriff.

                                                    138.

          The allegations of Paragraph 137 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    139.

          The allegations of Paragraph 138 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    140.

          The allegations of Paragraph 139 of the First Amended Complaint denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    141.

          The allegations of Paragraph 140 of the First Amended Complaint states conclusions of

  law requiring no answer of the Sheriff.

                                                    142.

          The allegations of Paragraph 141 of the First Amended Complaint are denied in so for as

  the allegations relate or refer to the Sheriff.




                                                     21
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                                               143.

         The allegations of Paragraph 142 of the First Amended Complaint are denied.

                                               144.

         The allegations of Paragraph 143 of the First Amended Complaint are denied.

                                               145.

         The allegations of Paragraph 144 of the First Amended Complaint are denied.

                                               146.

         The allegations of Paragraph 145 of the First Amended Complaint are denied.

                                               147.

         The allegations of Paragraph 146 of the First Amended Complaint are denied.

                                               148.

         The allegations of Paragraph 147 of the First Amended Complaint are denied.

                                               149.

         The allegations of Paragraph 148 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff.

                                               150.

         The allegations of Paragraph 149 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff.

                                               151.

         The allegations of Paragraph 150 of the First Amended Complaint are denied.

                                               152.

         The allegations of Paragraph 151 of the First Amended Complaint are denied.



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                                                   153.

         The allegations of Paragraph 152 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to Sheriff Garber.

                                                   154.

         The allegations of Paragraph 153 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to Sheriff Garber.

                                                   155.

         The allegations of Paragraph 154 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied.

                                                   156.

         The allegations of Paragraph 155 of the First Amended Complaint require no answer, but

  if a response is necessary the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                   157.

         The allegations of Paragraph 156 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff.

                                                   158.

         The allegations of Paragraph 157 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff.

                                                   159.

         The allegations of Paragraph 158 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff.



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                                                    160.

          The allegations of Paragraph 159 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to the Sheriff.

                                                    161.

          The allegations of Paragraph 160 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to the Sheriff.

                                                    162.

          The allegations of Paragraph 161 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to the Sheriff.

                                                    163.

          The allegations of Paragraph 162 of the First Amended Complaint are denied in so far as

  the allegations relate or refer to the Sheriff.

                                                    164.

          The allegations of Paragraph 163 state conclusions of law requiring no answer from the

  Sheriff. To the extent an answer is required, the allegations are denied.

                                                    165.

          The allegations of Paragraph 164 of the First Amended Complaint require no answer, but

  if a response is necessary the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                    166.

          The allegations of Paragraph 165 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff.



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                                                 167.

          The allegations of Paragraph 166 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                 168.

          The allegations of Paragraph 167 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                 169.

          The allegations of Paragraph 168 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                 170.

          The allegations of Paragraph 169 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                 171.

          The allegations of Paragraph 170 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                 172.

          The allegations of Paragraph 171 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                 173.

          The allegations of Paragraph 172 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied.




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                                                 174.

          The allegations of Paragraph 173 of the First Amended Complaint require no answer, but

  if a response is necessary the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                 175.

          The allegations of Paragraph 174 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff.

                                                 176.

          The allegations of Paragraph 175 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                 177.

          The allegations of Paragraph 176 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                 178.

          The allegations of Paragraph 177 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                 179.

          The allegations of Paragraph 178 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                 180.

          The allegations of Paragraph 179 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied.



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                                                    181.

          The allegations of Paragraph 180 of the First Amended Complaint require no answer, but

  if a response is necessary the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                    182.

          The allegations of Paragraph 181 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff.

                                                    183.

          The allegations of Paragraph 182 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.



                                                    184.

          The allegations of Paragraph 183 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    185.

          The allegations of Paragraph 184 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                    186.

          The allegations of Paragraph 185 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied.




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                                                 187.

          The allegations of Paragraph 186 of the First Amended Complaint require no answer, but

  if a response is necessary the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                 188.

          The allegations of Paragraph 187 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff.

                                                 189.

          The allegations of Paragraph 188 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                 190.

          The allegations of Paragraph 189 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied.

                                                 191.

          The allegations of Paragraph 190 of the First Amended Complaint require no answer, but

  if a response is necessary the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                 192.

          The allegations of Paragraph 191 state conclusions of law requiring no answer of the

  Sheriff.




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                                                    193.

          The allegations of Paragraph 192 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                    194.

          The allegations of Paragraph 193 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff.

                                                    195.

          The allegations of Paragraph 194 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                    196.

          The allegations of Paragraph 195 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    197.

          The allegations of Paragraph 196 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    198.

          The allegations of Paragraph 197 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                    199.

          The allegations of Paragraph 198 of the First Amended Complaint state conclusions of law

  requiring no of the Sheriff. To the extent an answer is required, the allegations are denied.




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                                                    200.

          The allegations of Paragraph 199 of the First Amended Complaint require no answer, but

  if a response is necessary the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                    201.

          The allegations of Paragraph 200 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff.

                                                    202.

          The allegations of Paragraph 201 of the First Amended Complaint are admitted.

                                                    203.

          The allegations of Paragraph 202 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    204.

          The allegations of Paragraph 203 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                    205.

          The allegations of Paragraph 204 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                    206.

          The allegations of Paragraph 205 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.




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                                                    207.

          The allegations of Paragraph 206 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff. To the extent an Answer is required, the allegations are denied.

                                                    208.

          The allegations of Paragraph 207 of the First Amended Complaint require no answer, but

  if a response is necessary the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                    209.

          The allegations in Paragraph 208 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff.

                                                    210.

          The allegations in Paragraph 209 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff.

                                                    211.

          The allegations in Paragraph 210 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    212.

          The allegations in Paragraph 211 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                    213.

          The allegations in Paragraph 212 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.



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                                                    214.

          The allegations in Paragraph 213 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                    215.

          The allegations in Paragraph 214 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                    216.

          The allegations in Paragraph 215 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                    217.

          The allegations of Paragraph 216 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff. To the extent an Answer is required, the allegations are denied.

                                                    218.

          The allegations of Paragraph 217 of the First Amended Complaint require no answer, but

  if a response is necessary the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                    219.

          The allegations of Paragraph 218 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    220.

          The allegations of Paragraph 219 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.



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                                                    221.

          The allegations of Paragraph 220 of the First Amended Complaint are denied in so far as

  allegations relate or refer to the Sheriff.

                                                    222.

          The allegations of Paragraph 221 of the First Amended Complaint are denied.

                                                    223.

          The allegations of Paragraph 222 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied.

                                                    224.

          The allegations of Paragraph 223 of the First Amended Complaint require no answer, but

  if a response is necessary the Sheriff reiterates each of his prior responses to the preceding

  allegations and denies the allegations.

                                                    225.

          The allegations of Paragraph 224 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    226.

          The allegations of Paragraph 225 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    227.

          The allegations of Paragraph 226 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.




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                                                    228.

          The allegations of Paragraph 227 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    229.

          The allegations of Paragraph 228 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    230.

          The allegations of Paragraph 229 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    231.

          The allegations of Paragraph 230 of the First Amended Complaint are denied for lack of

  sufficient information to justify a belief as to the truth of the matter therein.

                                                    232.

          The allegations of Paragraph 231 of the First Amended Complaint state conclusions of law

  requiring no answer of the Sheriff. To the extent an answer is required, the allegations are denied.

          AND NOW FOR FURTHER ANSWER, Defendants affirmatively aver as follows:

                                       First Affirmative Defense

          The Sheriff affirmatively avers at all relevant times, he acted reasonably and prudently

  under the circumstances and complied with all applicable Louisiana and federal laws and

  regulations.




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                                     Second Affirmative Defense

         The Sheriff affirmatively avers the Complaint filed on behalf of the Plaintiff fails to state

  a claim against the Sheriff upon which relief may be granted.

                                      Third Affirmative Defense

         The Sheriff affirmatively avers he is entitled to qualified immunity, to the extent the

  Plaintiff contends he is liable in his individual capacity.

                                      Fourth Affirmative Defense

         The Sheriff affirmatively avers he is entitled to discretionary immunity, whether created

  by state case law, federal case law, La. R.S. § 9:2798.1, or any other statute.

                                       Fifth Affirmative Defense

         The Sheriff affirmatively asserts the statutory cap on compensatory damages as provided

  by Louisiana Law, and affirmatively asserts the statutory prohibition on punitive damages against

  a governmental entity as provided in U.S.C. § 1981a(b)(1).

                                       Sixth Affirmative Defense

         The Sheriff affirmatively avers the damages alleged by the Plaintiff, should any exist,

  which is not admitted but specifically denied, were not sustained as a result of any negligence,

  fault, want of due care, or breach of duty on the part of the Sheriff nor on the part of others for

  whose conduct the Sheriff may in any way be responsible, but occurred and/or were caused solely

  by the fault, negligence, want of due care, and/or breach of duty on the part of the Plaintiff, which

  precludes and bars any recovery by the Plaintiff against the Sheriff or, alternatively, operates in

  mitigation of any recovery under comparative fault principles.




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                                      Seventh Affirmative Defense

          The Sheriff affirmatively avers the damages, if any, were proximately caused in whole, or

  alternatively in part, by the negligence, legal fault, want of care, and/or breach of duty on the part

  of persons or other entities for whom the Sheriff is not and/or was not legally responsible, which

  is specifically pled in bar of, in reduction of, or in mitigation of the damages claimed by the

  Plaintiff herein.

                                       Eighth Affirmative Defense

          The Sheriff affirmatively avers that comparative fault principles, particularly the law of

  joint and divisible liability, apply to the Plaintiff’s claims.

                                       Ninth Affirmative Defense

          In the alternative, and only in the event of any negligence, fault, or liability on the part of

  the Sheriff, which is not admitted but is specifically denied, the Sheriff affirmatively avers the

  Plaintiff may have failed to fully and properly mitigate her damages, if any, which are not admitted

  but are specifically denied, as required by law and such failure serves to bar and/or reduce any

  recovery of damages herein.

                                       Tenth Affirmative Defense

          The Sheriff affirmatively avers the Plaintiff is estopped from pursuing the claims in the

  Complaint, by reason of her own actions, course of conduct, previous proceedings, and conflicting

  contentions.




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                                     Eleventh Affirmative Defense

           The Sheriff affirmatively avers the Plaintiff has waived the right to bring some or all of the

  claims in the Complaint due to her actions, course of conduct, previous proceedings, and

  conflicting contentions.

                                      Twelfth Affirmative Defense

           The Sheriff affirmatively avers the Plaintiff’s claims are barred by the doctrine of unclean

  hands.

                                    Thirteenth Affirmative Defense

           The Sheriff reserves the right to assert any additional affirmative defenses, which may be

  applicable as information becomes available during the course of this litigation.

           WHEREFORE, Defendant prays that this Answer be deemed good and sufficient, and,

  after all due proceedings, there be judgment in favor of Sheriff Garber and against the Plaintiff

  dismissing the Plaintiff’s claims with full prejudice and at the Plaintiff’s sole cost and expense and

  for all other just, general and equitable relief.




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                                               Respectfully submitted,


                                               NEUNERPATE

                                               /s/ James L. Pate
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                                               Fax:          (337) 233-9450
                                               Counsel for the Defendants, Sheriff Mark
                                               Garber and Paula Smith




                                        Certificate of Service

         I HEREBY CERTIFY that a copy of the above and foregoing pleading was filed

  electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent

  to all known counsel of record via the Court’s electronic filing system.

         Lafayette, Louisiana this 21st day of January, 2022.

                                            /s/ James L. Pate
                                              COUNSEL




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